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FORM 26. Docketing Statement                                                                               Form 26 (p. 1)
                                                                                                              July 2020


                      UNITED STATES COURT OF APPEALS
                         FOR THE FEDERAL CIRCUIT
                                      DOCKETING STATEMENT

           Case Number: 2024-1285
  Short Case Caption: Apple Inc. v. International Trade Commission
                       ------------------------
  Filing Party/Entity: Apple Inc.


 Instructions: Complete each section 01· check the box if a section is intentionally
 blank or not applicable. Attach additional pages as needed. Refer to the court's
 Mediation Guidelines fOT filing requirements. An amended docketing statement is
 required for each new appeal 01· cross-appeal consolidated after first filing.


            Case Origin                     Originating Number                            Type of Case

U.S. International Trade Commission               337-TA-1276                  Administrative Proceeding


 Relief sought on appeal:            D None/Not Applicable
 Reversal of ITC's determination of violation by Apple Inc. of 19 U.S.C. § 1337, and vacatur
 of cease and desist order and limited exclusion order imposed on Apple.
 Relief awarded below (if damages, specify): D None/Not Applicable

 Cease and desist order and limited exclusion order imposed on Apple.



 Briefly describe the judgment/order appealed from:

 The ITC determined that Apple violated 19 U.S.C. § 1337 with respect to five
 asserted patent claims.

 Nature of judgment (select one):                                              10/26/23
                                                             Date of judgment: _ _ _ _ _ __
     □
     ✔ Final Judgment, 28 USC § 1295
     □ Rule 54(b)
     D Interlocutory Order (specify type) _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D
     ✔
       Othe1· (explain)                   Per § 1337(c), (j), judgment became final to Apple on December 26, 2023
                  Case: 24-1285                 Document: 34                Page: 2           Filed: 01/24/2024



FORM 26. Docketing Statement                                                                                                Form 26 (p. 2)
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 Name and docket number of any related cases pending before this court, and the
 name of the writing judge if an opinion was issued. D
                                                     ✔ None/Not Applicable



 Apple is unaware of any related cases pending before this Court.


 Issues to be raised on appeal:                      D None/Not Applicable
 Issues to be raised include: (1) Whether Intervenors satisfied the domestic industry requirement of § 1337, (2) whether U.S. Patent Nos.
 10,912,502 ('''502 patent") and 10,945,648 ("'648 patent") are unenforceable under the doctrine of prosecution laches, (3) whether the '502
 and '648 patents are invalid as obvious and/or for lack of written description, and (4) whether Apple infringed the '502 and '648 patents.

 Have there been discussions with other pai·ties 1·elating to settlement of this case?
 □
 ✔
           Yes        D          No

 If "yes," when were the last such discussions?
      D Before the case was filed below
      D During the pendency of the case below
      ✔


      D Following the judgment/Ol'der appealed from

 If "yes," were the settlement discussions mediated?                                               ✔
                                                                                                   0Yes                  0No

 If they were mediated, by whom?
 Apple and Intervenors conducted an in-person mediation with Hon. Layn Phillips in Newport
 Beach, California on April 20, 2022.
                                                             ✔ Yes
 Do you believe that this case may be amenable to mediation? D                                                            D No
 Explain.

 Apple and Intervenors have a mediation with Judge Phillips scheduled.




 Provide any other info1·mation relevant to the inclusion of this case in the court's
 mediation program.

 See above.



 Date: 1/24/24                                          Signature: /s/ Mark D. Selwyn

                                                        Name:                Mark D. Selwyn



                                                           Save for Filing
